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                                                                                   Office of the City Attorney
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                                                                                                 City Attorney
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                                                                                    Minneapolis, MN 55415
                                                                      TEL 612.673.3000 TTY 612.673.2157



                                                                                   612.673.3919
                                                                kristin.sarff@minneapolismn.gov
September 2, 2020


By U.S. Mail                                      By U.S. Mail
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Davida S. McGhee                                  Gaëlle E. Tribié
Greene Espel PLLP                                 Sidley Austin LLP
222 South Ninth Street, Suite 2200                787 Seventh Avenue
Minneapolis, MN 55402                             New York, NY 10019

By U.S. Mail                                      By U.S. Mail
Margaret H. Allen                                 Gabriel Schonfeld
Sidley Austin LLP                                 Sidley Austin LLP
2021 McKinney Ave, Ste. 2000                      1501 K Street NW
Dallas, TX 75201                                  Washington, DC 20005


Re:     Linda Tirado v. City of Minneapolis, et al., Court File No. 20-cv-01338 (JRT-ECW)

Dear Counsel,

Enclosed and served upon you please find Defendants Medaria Arradondo and City of
Minneapolis’ First Set of Interrogatories to Plaintiff and First Set of Requests for the Production
of Documents to Plaintiff. If you have any questions, please feel free to contact me.

Sincerely,

/s Kristin R. Sarff

Kristin R. Sarff
Assistant City Attorney

Enc.

cc: Joseph Kelly and Kevin Beck (w/enc. by U.S. Mail)




                       EXHIBIT A TO DECLARATION OF KRISTIN R. SARFF
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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA


Linda Tirado,                                     Case No. 0:20-cv-01338-JRT-ECW



                                 Plaintiff,

v.

City of Minneapolis; Minneapolis Chief
of Police Medaria Arradondo, in his
official capacity; Robert Kroll, in his
individual capacity; and Minneapolis
Police Department Officers John Does
1-4, in their official and individual
capacities,

                             Defendants.



  PLAINTIFF LINDA TIRADO’S RESPONSE TO DEFENDANTS MEDARIA
ARRADONDO AND CITY OF MINNEAPOLIS’ FIRST SET OF REQUESTS FOR
               THE PRODUCTION OF DOCUMENTS

      Pursuant to the Federal Rules of Civil Procedure (“FRCP”) 26 and 34 and the

Local Rules of the United States District Court for the District of Minnesota, Plaintiff

Linda Tirado (“Tirado”), by her undersigned counsel, hereby responds and objects

to Defendants Medaria Arradondo (“Arradondo”) and the City of Minneapolis’

(“Minneapolis,” and together with Arradondo, “Defendants”) First Set of Requests

for the Production of Documents (the “Requests” and each a “Request”), issued by




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Defendants on September 2, 2020, in the above-captioned action (the “Action”) as

follows:

                        OBJECTIONS TO DEFINITIONS

      1.     Tirado objects to the Defendants’ proposed definition of “you,” “your,”

and “Plaintiff” to the extent it includes Tirado’s attorneys and seeks information that

is subject to the attorney-client privilege or constitutes attorney work product.

      2.     Tirado objects to the Defendants’ proposed definition of “document”

to the extent it purports to impose obligations in addition to, or different from those

imposed by the applicable federal rules. Tirado further objects to Defendants’

proposed definition of “document” and in particular the phrase “other data

compilations from which information can be obtained and translated, if necessary,

through detection devices into readable or viewable form” as vague, ambiguous,

overbroad and unduly burdensome.

      3.     Tirado objects to the Defendants’ proposed definition of “statement” as

vague and unclear to the extent it includes any statement that is “impliedly”

approved or ratified. As written, the definition is unclear in what it seeks and what

it means to impliedly approve or ratify a statement.

                              GENERAL OBJECTIONS

      1.      Tirado objects to each Request to the extent that it is overly broad,

unduly burdensome, irrelevant to any party’s claim or defense, or not proportional

to the needs of the case.

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         2.   Tirado objects to each Request to the extent that it seeks information

or documents other than that which is in Tirado’s possession, custody, or control.

         3.   Tirado objects to each Request to the extent it seeks documents that

are already available to Defendants, already in the possession, custody, or control of

Defendants or their attorneys, are publicly available, and/or are more easily

accessible to Defendants than to Tirado.

         4.   Tirado objects to each Request to the extent it demands Tirado to

respond as to the knowledge of persons and/or entities other than Tirado. In

response to each Request, Tirado will only respond for Tirado and not for any other

person and/or entity.

         5.   Tirado objects to each Request to the extent that it purports to impose

any requirement or discovery obligation greater than or different from those under

the Federal Rules of Civil Procedure and the applicable Rules and Orders of the

Court.

         6.   Tirado objects to each Request to the extent that it seeks information

or documents protected from discovery by the attorney-client privilege, the work-

product doctrine, the right to privacy, or other privileges recognized under law or

equity. All answers are subject to this objection, without prejudice or waiver thereof,

and are made with the understanding that any protected, non-discoverable

information will be excluded from these answers and any document production.




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Inadvertent production of any privileged information or document shall not

constitute waiver of any privilege.

      7.     By responding to these Requests, Tirado does not concede the

relevance of a Request nor the relevance or admissibility of any information

provided or documents produced in response thereto. The fact that information is

provided or documents are produced in response to a particular Request does not

mean that it is probative of any particular issue in this case.

      8.     Tirado objects to each Request to the extent it calls for, or can be

interpreted as calling for, legal conclusions, or to the extent it assumes disputed

issues or are phrased in such a way as to be argumentative, lacking foundation,

prejudicial, or improper.

      9.     Tirado objects to each Request to the extent it seeks information or

documents that are duplicative of, or readily ascertained from, information provided

in response to another Request.

      10.    A response to a particular Request that Tirado will produce documents

is not a representation that such documents exist or have ever existed, but instead

is a representation that, to the extent such documents do exist and are in Tirado’s

custody and control, such documents will be produced in accordance with the terms

of Tirado’s response to the particular Request and these general objections.




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      11.     Discovery in this matter is ongoing. These responses and objections

are made without prejudice to, and are not in waiver of, Tirado’s right to amend,

correct, or supplement these responses, and are subject to Tirado’s right to produce

evidence of any subsequently discovered facts, or additional facts, information, or

documents that may exist whose relevance, significance, or applicability has not yet

been determined by Tirado. Tirado provides these responses in good faith after

reasonable inquiry and based on information that it knows or can readily obtain. In

providing these responses, Tirado reserves all objections as to competency,

relevancy, materiality, authenticity, and admissibility of any information or

documents. This preliminary statement is hereby incorporated by reference into

each response below.

      12.     Tirado does not waive, and hereby expressly reserves, her right to assert

any and all objections to the admissibility of any responses or information provided

thereto into evidence at any hearing or trial of this proceeding, or in any other

actions or proceedings, on any and all grounds, including, but not limited to,

competency,     relevancy,    materiality,   privilege,   confidentiality,   hearsay,   or

admissibility as evidence for any other purpose. Moreover, the right to object on

any ground to the use of the responses or information provided, in any aspect of this

or any other court action, arbitration, or judicial or administrative proceeding or

investigation, is reserved.




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                   RESPONSES AND SPECIFIC OBJECTIONS

      Tirado also asserts the following Specific Objections in response to the

Requests. Tirado preserves her General Objections, each of which is incorporated

by reference in the responses set forth below, and none of the following Specific

Objections limits the scope or breadth of those General Objections.

REQUEST NO. 1: Produce all photographs taken by Plaintiff on May 29, 2020
and May 30, 2020.

      RESPONSE: In addition to its General Objections, Tirado objects to this

Request as unduly burdensome and overbroad because the request for “all”

photographs necessarily seeks thousands of photographs, the vast majority of which

bear no relationship to the instant dispute. Only those photographs taken in the

immediate lead-up to—and aftermath of—Tirado being shot are relevant to this

dispute. All other photographs are irrelevant and their production would impose

an undue burden that is not proportional to the needs of the case. Accordingly,

Tirado will only produce those photographs taken in the immediate lead-up to—

and aftermath of—Tirado being shot.

      Notwithstanding and without waiving these objections, Tirado responds as

follows. On information and belief, Tirado did not approach the intersection in

which she was shot until approximately 12:23 a.m. CDT and was shot at

approximately 12:34 a.m. CDT on May 30, 2020. Accordingly, Tirado will produce

all photographs taken between 12:23 a.m. CDT and 11:59 p.m. CDT on May 30, 2020.



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REQUEST NO. 2: Produce all audio or video recordings taken by Plaintiff on
May 29, 2020, and May 30, 2020.

      RESPONSE: In addition to its General Objections, Tirado objects to this

Request as unduly burdensome and overbroad because it seeks “all” audio or video

recordings without regard for whether they have any relationship to the instant

dispute, including recordings that do not relate to the lead-up to—and aftermath

of—Tirado being shot. Accordingly, Tirado will only produce those recordings

taken in the immediate lead-up to—and aftermath of—Tirado being shot, if any.

      Notwithstanding and without waiving these objections, Tirado responds as

follows. On information and belief, Tirado was shot at approximately 12:34 a.m.

CDT on May 30, 2020. Accordingly, Tirado will produce all recordings, if any, taken

between 12:23 a.m. CDT and 11:59 p.m. CDT on May 30, 2020.


REQUEST NO. 3: Produce all photographs and audio or video recording of
protests, riots, law enforcement activity, or injuries incurred in the City of
Minneapolis from May 26, 2020, to June 1, 2020, that are in Plaintiffs
possession.

      RESPONSE: In addition to its General Objections, Tirado objects to this

Request as unduly burdensome and overbroad because the request for “all”

photographs and audio or video recording necessarily seeks thousands of

photographs and volumes of data taken over the course of seven days, without

regard for the fact that 1) a vast majority of the photographs and recordings taken in

the 5 days leading up to Tirado being shot; and 2) approximately half of the



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photographs and recordings taken in the roughly 2 days after Ms. Tirado was shot

do not relate to the claims and defenses at issue in the case. Tirado further objects

to this Request to the extent it is duplicative of Requests 1 and 2. Tirado further

objects to this Request as vague and ambiguous, as the phrases “protests, riots, law

enforcement activity, or injuries” are undefined, subject to interpretation, and

would require Tirado to guess as to their meaning. Tirado further objects to this

Request to the extent it seeks information already in Defendants’ possession and is

as readily available to Defendants as to Tirado.

      Notwithstanding and without waiving these objections, Tirado will produce

photographs of Tirado’s injuries taken between May 30, 2020 and June 1, 2020.

Tirado will not produce additional photographs or recordings pursuant to this

Request other than those photographs and recordings already being produced

pursuant to Requests 1 and 2.


REQUEST NO. 4: Produce all documents, social media posts, messages,
recordings or materials, including Twitter and Patreon, that are authored or
created by Plaintiff, which relate to the allegations in the Amended
Complaint or settlement of this lawsuit.

      RESPONSE: In addition to its General Objections, Tirado objects to this

Request as unduly burdensome and overbroad because the request for “all”

documents, social media posts, messages, recordings or materials necessarily

requires review of excessive volumes of information, some of which is publicly

available and equally accessible to both parties. Tirado further objects to this


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Request, which seeks among other things “messages” and “materials” from Tirado,

as overbroad to the extent it calls for the production of information protected by the

attorney-client privilege, work product protection, or any other privilege or

protection. Finally, Tirado objects to this Request as unduly burdensome and

overbroad because the request for all documents that “relate” to the allegations in

the Amended Complaint exceeds the requirements of FRCP 26, which requires the

production of only that information which is relevant to the claims and defenses at

issue.

         Tirado further objects to this Request as vague and ambiguous because the

terms “relate” and “messages” are undefined, such that Tirado cannot determine

what is intended to be sought by this Request. Tirado further objects to this Request

to the extent it is duplicative of Requests 2 and 5.

         Notwithstanding and without waiving these objections, Tirado will produce

all social media posts that are authored or created by her that are not publicly

available and that discuss the facts alleged in the Amended Complaint or settlement

of this lawsuit.


REQUEST NO. 5: Produce all documents, interviews, statements, testimony,
or representations made by Plaintiff relating to the allegations in the
Amended Complaint or settlement of this lawsuit.

         RESPONSE: In addition to its General Objections, Tirado objects to this

Request as unduly burdensome and overbroad to the extent it seeks “all” documents,



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interviews, statements, testimony, or representations made by Tirado without

regard for how they actually relate to the lawsuit, without limit to a particular time

frame, and without regard to whether such information is subject to confidentiality

or nondisclosure requirements or otherwise privileged or protected by the attorney-

client privilege or work product protection. Tirado further objects to the terms

“statements” and “representations” as vague, ambiguous, and undefined, and to the

extent they are construed to include social media posts and messages. Tirado further

objects to this Request on the grounds that it seeks documents and communications

that are already in Defendants’ possession, custody, or control (e.g., Tirado’s

Congressional testimony) or are publicly available and equally accessible to both

parties. Finally, Tirado objects to the extent this Request is duplicative of Request

4.

      Notwithstanding and without waiving these objections, Tirado will produce

all non-privileged, non-confidential interviews, statements, and testimony currently

within her possession, custody and control that are not publicly available, if any,

taken on or after May 30, 2020.

REQUEST NO. 6: Produce copies of all medical requests, reports, records,
tests, recommendations, referrals, diagnoses, bills, invoices, payment
agreements, charts, summaries, or other writings which in any way relate to
Plaintiffs physical or emotional injuries, medical care, or medical
examinations, which you claim to be the result of the incident alleged in the
Amended Complaint.

      RESPONSE: In addition to its General Objections, Tirado objects to this



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Request as unduly burdensome and overbroad to the extent it seeks “all” medical

requests, reports, records, tests, recommendations, referrals, diagnoses, bills,

invoices, payment agreements, charts, summaries, or other writings. Tirado further

objects to the term “other writings” as vague and ambiguous, as it is not limited to

medical-related writings or otherwise limited in scope. Tirado further objects to the

Request to the extent it seeks documents or communications not in Tirado’s

possession, custody, or control. Tirado further objects to this Request to the extent

it seeks privileged information that is subject to the attorney-client privilege or work

product protection.

      Notwithstanding and without waiving these objections, Tirado will produce

all relevant, non-privileged medical information in her possession, custody, and

control that was generated on and after May 30, 2020 which relates to the eye injury

Tirado sustained on May 30, 2020 and the physical and emotional damages she

claims in this case. Tirado reserves the right to amend, correct, or supplement this

information, and will produce additional medical documentation if and when it

becomes available to her.

REQUEST NO. 7: Produce copies of all documents that demonstrate, support,
quantify or calculate Plaintiffs prayer for relief in her Amended Complaint
for “[d]amages compensating Plaintiff for her injuries” and “punitive
damages[.]”

    RESPONSE: In addition to its General Objections, Tirado objects to this

Request on grounds that it is unduly burdensome and overbroad because it seeks



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“all” documents, which includes privileged information that is subject to the

attorney-client privilege and work product protection. Tirado further objects to this

Request as premature and exceeding the requirements of FRCP 26, because it calls

for expert discovery in advance of the deadlines to be set for such disclosures. Tirado

further objects to this Request as duplicative of Request 6, as “bills, invoices, [and]

payment agreements” form part of the basis on which Tirado bases her prayer for

relief.

          Because the determination of the full extent of damages is ongoing and is not

subject to calculation at this point in the litigation, Tirado will not produce

documents pursuant to this Request at this time. Notwithstanding and without

waiving these objections, Tirado will produce medical bills, invoices, and payment

agreements currently in her possessions, custody, and control that were generated

on and after May 30, 2020 which relate to the eye injury Tirado sustained on May

30, 2020 and the physical and emotional damages she claims in this case.




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Dated: October 5, 2020        GREENE ESPEL PLLP

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                         UNITED STATES DISTRICT COURT

                              DISTRICT OF MINNESOTA


Linda Tirado,                                      Case No. 20-cv-01338 (JRT/ECW)

                      Plaintiff,

   vs.                                            DEFENDANTS CITY OF
                                               MINNEAPOLIS AND MEDARIA
City of Minneapolis; Minneapolis Chief         ARRADONDO’S ANSWERS TO
of Police Medaria Arradondo, in his              PLAINTIFF’ FIRST SET OF
official capacity; Robert Kroll, in his            INTERROGATORIES
individual capacity; and Minneapolis
Police Department Officers John Does
1-4, in their official and individual
capacities,

                      Defendants.


                               GENERAL OBJECTIONS

         Defendants City of Minneapolis and Medaria Arradondo (hereinafter

“City Defendants”) make the following General Objections to Plaintiff’s First Set

of Interrogatories:

         1.   Regardless of Plaintiff’s instruction and definition explanations, the

City Defendants do not undertake any obligation to answer Plaintiff’s

Interrogatories other than those obligations set forth in the Federal Rules of Civil

Procedure.




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      2.     The City Defendants object to Plaintiff’s Interrogatories to the extent

that Plaintiff’s Interrogatories seek information not proportional to the needs of

the case, considering the importance of the issues at stake in this action, the

importance of resolving the issues and whether the burden or expense of the

proposed discovery outweighs its benefit.

      3.     The City Defendants object to Plaintiff’s Interrogatories to the extent

that they request privileged information not subject to discovery, including

information protected by the attorney-client privilege, work product doctrine or

any other privilege or protective doctrines.

      4.     The City Defendants object to Plaintiff’s Interrogatories to the extent

that they assume, imply, or require legal conclusions.

      5.     The City Defendants object to Plaintiff’s Interrogatories to the extent

that they seek information already in the custody and control of the Plaintiff.

      6.     The City Defendants object to Plaintiff’s Interrogatories to the extent

they are premature at this stage of the action, including but not limited to any

effort to seek information concerning the City Defendants contentions or

defenses to the action prior to the close of discovery in this case.

      7.     The City Defendants object to Plaintiff’s Interrogatories to the extent

that they are vague, ambiguous, overly broad, unduly burdensome, duplicative,




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oppressive, harassing, or that they seek to require that the City Defendants

undertake an unreasonable investigation.

      8.     The City Defendants object to Plaintiff’s Interrogatories to the extent

that they seek information in the possession and/or control of other entities that

are not parties to this action.

      9.     The City Defendants object to Plaintiff’s Interrogatories to the extent

they seek information that is not reasonably calculated to lead to the discovery of

admissible evidence.

      10.    The City Defendants object to Plaintiff’s Interrogatories to the extent

they seek confidential information, including but not limited to private personnel

data, law enforcement information, and other information protected from

disclosure under the Minnesota Government Data Practices Act.             The City

Defendants will produce appropriate documents and information only subject to

a Protective Order.

      11.    The City Defendants object to Plaintiff’s Interrogatories to the extent

that they are directed to any persons or entities purporting to act on any behalf of

the City of Minneapolis, Chief Arradondo or the Minneapolis Police Department.

      12.    In providing these Answers, the City Defendants do not in any

manner waive:

             a.     All objections relating to competence, relevance, materiality,
                    privilege and admissibility;
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                b.    All rights to object, on any grounds, to the use of these
                      Answers, or information or documents provided in response
                      to these Answers, in any subsequent proceedings, including
                      any hearing for this or any other action;

                c.    All rights to object on any grounds to any further discovery
                      requests involving or related to the subject matter of any of
                      these Interrogatories; and

                d.    All rights to supplement and/or amend these Answers based
                      on recollections of persons presently unavailable or based
                      upon the discovery of additional documents or evidence.

          13.   Each of these General Objections is incorporated into the City

Defendant’s Answers to each Interrogatory as if fully stated therein.

          14.   These Objections and Answers are based on information currently

known. The City Defendants reserve the right to amend, modify or supplement

these Objections and Answers to the fullest extent permitted by all applicable

Rules and Court Orders.

                                INTERROGATORIES

          1.    Identify John Does 1-4, including but not limited to their names and

titles.

          ANSWER: The Plaintiff’s Interrogatories define “John Does 1-4” as

“individual member or members of the Minneapolis Police Department or agents

of the City of Minneapolis who were involved in causing the deployment of the

less-lethal projectile that struck Tirado in her left eye.” City Defendants object to


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this definition and Interrogatory on the grounds that the phrase “involved in

causing” is vague, ambiguous, and seeks irrelevant information, particularly

since the First Amended Complaint alleges Plaintiff was struck once in the left

eye and, therefore, multiple individuals were not involved in causing her to

allegedly be struck. City Defendants also object to the definition of “John Does 1-

4” and this Interrogatory on the grounds that it premature, particularly to the

extent it presumes Plaintiff was struck in the eye with a less-lethal projectile by

an MPD officer or agent. City Defendants further object to this Interrogatory to

the extent it seeks attorney work product or calls for a legal conclusion with

respect to causation and whether an individual is an agent of the MPD, and

improperly seeks to place the burden of identifying the John Does on the City

Defendants.    City Defendants additionally object to Plaintiff’s definition of

“Identify” as being overly broad, unduly burdensome, seeking irrelevant

information, and seeking private, non-public data or other data prohibited from

disclosure by the Minnesota Government Data Practices Act.

      Subject to and without waiving these objections and the foregoing General

Objections, and without conceding that Plaintiff was struck in the eye with a less-

lethal projectile by an MPD officer, upon the entry of a Protective Order, City

Defendants will provide the Plaintiff with relevant body worn camera video

footage recorded on the evening of May 29, 2020, and a General Offense Report


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related to events occurring near the Fifth Precinct on May 29, 2020, to enable the

Plaintiff to identify the purported John Does. Discovery is ongoing and the City

Defendants reserve the right to supplement this Answer.

      2.    Identify all training programs, courses or education of Minneapolis

Police Department officers, employees or officials – including those performed

by equipment manufacturers, other third parties, the Minneapolis Police

Department, the Minnesota Peace Officer Standards and Training (POST) Board,

or other government-related bodies – that relate to the Use of Force.

      ANSWER: Plaintiff’s Interrogatories defines “Use of Force” to include at

least sixteen different types of force, including, but not limited to, “restraint,

hand or foot strikes, strikes with a baton . . . . chemical agents . . . flash-bang

grenades, long-range audio devices, microwave beams, or strobe lights.” City

Defendants object to this definition and Interrogatory as being overly broad,

unduly burdensome, and seeking irrelevant information in so far as it seeks

information relating to uses of force that bear no similarity to the Plaintiff’s

allegation that she was struck with a less-lethal projectile. City Defendants also

object to this Interrogatory as being overly broad, unduly burdensome, and

seeking irrelevant information in so far as it seeks information for the time

period defined as the so-called “relevant time period” back to August 18, 2008,

and, therefore, may include training which the John Does did not receive. City


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Defendants further object to the Plaintiff’s definition of “Identify” as it pertains

to documents as being unduly burdensome, overly broad, compound, and

seeking private, non-public personnel data or other data prohibited from

disclosure by the Minnesota Government Data Practices Act. City Defendants

additionally object to this Interrogatory as being compound and composed of at

least sixteen different subparts, in so far as it seeks information about various

training and education by no less than five different bodies on at least eleven

different topics, each of which counts towards the limit of 25 interrogatories

under the parties' September 9, 2020 Rule 26(f) Report. Subject to and without

waiving these objections and the foregoing General Objections, upon the entry of

Protective Order and Plaintiff’s identification of the John Does by name,

pursuant to Fed. R. Civ. P. 33(d), the City Defendants will produce Minneapolis

Police Department training records and materials pertaining to the use of less-

lethal projectiles that was provided to the John Doe that Plaintiff identifies by

name or badge number as having struck her with a less-lethal projectile.

      3.    Identify which training programs stated in Interrogatory No. 2 each

of the individual Defendants attended.

      ANSWER: City Defendants incorporate their objection to the definition of

“Identify” as set forth in answer to Interrogatory Numbers 1 and 2.            City

Defendants also object to this Interrogatory as seeking irrelevant information in


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so far as it seeks training-related information for Defendants that did not use

force on Plaintiff. City Defendants also object to this Interrogatory as being

overly broad both temporally and substantively. Subject to without waiving

these objections and the foregoing General Objections, upon the entry of

Protective Order and Plaintiff’s identification of the John Does by name,

pursuant to Fed. R. Civ. P. 33(d), the City Defendants will produce training

records and materials related to and received by the John Doe that allegedly used

a less-lethal projectile with respect to Plaintiff.

      4.     Identify which, if any, members of the Minneapolis Police

Department were subject to any disciplinary proceedings in connection with the

George Floyd Protests or any Previous Press Incidents.

      ANSWER: City Defendants incorporate their objections to the definitions

of “Identify” as set forth in answer to Interrogatory Number 1, and “Use of

Force,” which is incorporated into the definition of “Previous Press Incident”, as

set forth in answer to Interrogatory Number 2. Plaintiff’s Interrogatories defines

“George Floyd Protests” as “the public protests, demonstrations, and gatherings

that occurred from May 26, 2020 through June 3, 2020 in Minneapolis.”

Plaintiff’s Interrogatories defines “Previous Press Incidents” as “any instances in

which the Use of Force was utilized by You or any member of the Minneapolis

Police Department or John Does 1-4 against any Member of the Press from


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August 18, 2008 to May 25, 2020, including but not limited to the Use of Force in

connection with the 2008 Republican National Convention or related protest

activities.” City Defendants object to these definitions and this Interrogatory as

encompassing    and   seeking information      that is   overly broad, unduly

burdensome, and irrelevant, particularly given that the stated temporal periods

occur substantially before and after the Plaintiff’s incident, and the May 26 to

May 31, 2020, period which Plaintiff alleges to be the relevant period for her

custom claim against the City. City Defendants object to the term “disciplinary

proceedings” as vague and undefined. City Defendants further object to this

Interrogatory as being overly broad, unduly burdensome, and seeking irrelevant

information in so far as it seeks information relating to disciplinary proceedings

relating to conduct and uses of force that bear no similarity to the Plaintiff’s

allegation that she was struck with a less-lethal projectile.     Moreover, City

Defendants object to this Interrogatory as being unduly burdensome and

requiring the City to undertake an unreasonable investigation because, as

records are kept in the normal course of business, it would not be readily

identifiable whether a disciplinary proceeding related to incidents involving a

member of the press, particularly given the objectionably overbroad definition of

“Member of the Press” provided by Plaintiff, which is incorporated into the

definition of “Previous Press Incident.” City Defendants additionally object to


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this Interrogatory to the extent it seeks private, non-public personnel data or

other data prohibited from disclosure by the Minnesota Government Data

Practices Act.

      Subject to and without waiving these objections and the foregoing General

Objections, and upon entry of a Protective Order, City Defendants will generally

identify any disciplinary proceedings relating to the use of less-lethal projectiles

against known members of the press between May 26 and May 31, 2020.

      5.     Identify all complaints filed with the Internal Affairs Unit of the

Minneapolis Police Department in connection with the George Floyd Protests or

any Previous Press Incidents.

      ANSWER: City Defendants incorporate their objections to the definitions

of “Identify” as set forth in answer to Interrogatory Number 2, and “Previous

Press Incident” and “George Floyd Protests” as set forth in answer to

Interrogatory Number 4. City Defendants also object to this Interrogatory as

being overly broad, unduly burdensome, and seeking irrelevant information.

City Defendants further object to this Interrogatory to the extent it seeks private,

non-public personnel data or other data prohibited from disclosure by the

Minnesota Government Data Practices Act.

      Subject to and without waiving these objections and the foregoing General

Objections, and upon entry of a Protective Order and pursuant to Fed. R. Civ. P.


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33(d), City Defendants will produce copies of complaints, if any, made to the

Minneapolis Police Department’s Internal Affairs Unit relating to the use of less-

lethal projectiles against known members of the press between May 26 and May

31, 2020.

      6.    Identify all lawsuits filed by Members of the Press against any

Defendant or member of the Minneapolis Police Department.

      ANSWER: City Defendants object to the definition of “Member of the

Press” as being overly broad and unduly burdensome. City Defendants also

object to this Interrogatory as being overly broad and unduly burdensome,

particularly given the objectionably overbroad definition of “Member of the

Press” provided by Plaintiff. City Defendants also object to this Interrogatory as

seeking irrelevant information in so far as it seeks the identification of lawsuits

challenging conduct bearing no similarity to Plaintiff’s allegation that she was

struck by a less-lethal projectile.    City Defendants further object to this

Interrogatory as requiring the City Defendants to undertake an unreasonable

investigation because, as records are kept in the normal course of business, the

City does not track lawsuits based on the profession of the plaintiff and the

temporal period for this Interrogatory is overly broad, seeking information back

to August 2008.    City Defendants additionally object to this Interrogatory as

seeking information equally within the Plaintiff’s possession, particularly to the


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extent it seeks information relating to lawsuits against Defendants or City

employees for events unrelated to their employment, because publicly filed

lawsuits are available to Plaintiff.

       Subject to and without waiving these objections and the foregoing General

Objections, City Defendants will disclose lawsuits involving allegations of use of

a less-lethal projectile against a known member of the press between May 26 and

May 31, 2020. City Defendants identify the lawsuit of Jared Goyette, et al. v. City of

Minneapolis, et al., Court File No. 20-cv-01302 (WMW/DTS). Discovery is ongoing

and the City reserves the right to supplement this Answer.

      7.     Identify the processes in place during the Relevant Time Period by

which You accounted for, or otherwise tracked, the use of: a) less-lethal or non-

lethal projectiles; b) ballistic tracking rounds, foam rounds or bullets, chemical

irritants, firearms, weapons, SWAT gear, or combat gear; and c) other

equipment, ammunition, weapons or devices.

      ANSWER: City Defendants incorporate their objection to the definition of

“Identify” as set forth in answer to Interrogatory Numbers 1 and 2.              City

Defendants object to this Interrogatory as being overly broad and unduly

burdensome based on the breadth of the definition of “You” provided by

Plaintiff, particularly to the extent it includes all City employees and those

“purporting to act on behalf of” the City, MPD, or Chief Arradondo.              City


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Defendants also object to this Interrogatory as being unduly burdensome, overly

broad, and seeking irrelevant information, particularly to the extent it seeks

information with respect to equipment and munitions that are not alleged to

have been involved in Plaintiff’s incident and for a time period unrelated to

Plaintiff’s incident or the custom alleged to exist by Plaintiff. City Defendants

also object to this Interrogatory as being compound and consisting of at least

eleven subparts in so far as it seeks tracking information related to at least eleven

different types of equipment and munition, each of which counts towards the

limit of 25 interrogatories under the parties' September 9, 2020 Rule 26(f) Report.

City Defendants further object to this Interrogatory to the extent it seeks private,

non-public personnel data or other data prohibited from disclosure by the

Minnesota Government Data Practices Act.

      Subject to and without waiving these objections and the foregoing General

Objections, upon entry of a protective order and pursuant to Fed. R. Civ. P. 33(d),

City Defendants will produce documents related to the process of tracking less-

projectiles between May 26 and May 31, 2020.

      8.     For the period of May 25, 2020 to present, identify all meetings

relating to the George Floyd Protests held by You and/or attended by any

members of the Minneapolis Police Department, and describe the substance of

what was discussed during those meetings.


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      ANSWER: City Defendants incorporate their objections to the definition

of “Identify” as set forth in answer to Interrogatory Numbers 1 and 2,

incorporate their objections to the definition of “George Floyd Protests” as set

forth in answer to Interrogatory Number 4, and incorporate their objections to

the definition of “You” set forth in answer to Interrogatory Number 7.        City

Defendants also object to this Interrogatory as being overly broad and unduly

burdensome, particularly to the extent it seeks a narrative response and seeks

information relating to meetings that did not involve Chief Arradondo and for

which the City Defendants have no notice. City Defendants further object to this

Interrogatory to the extent it seeks information relating to the substance of

meetings unrelated to the type of force alleged by Plaintiff, or that are protected

by the attorney-client privilege.   City Defendants additionally object to this

Interrogatory to the extent it seeks private, non-public personnel data or other

data prohibited from disclosure by the Minnesota Government Data Practices

Act. City Defendants finally object to this Interrogatory as being in excess of 25

Interrogatories.   Subject to and without waiving these objections and the

foregoing General Objections, the City Defendants will not provide responsive

information unless and until the Court issues an order permitting discovery in

excess of the customary and regularly enforced practice limiting discovery to 25

interrogatories.


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       9.    For the period May 25, 2020 to present, identify all meetings held

between or among You and Defendants relating to Tirado.

       ANSWER: City Defendants incorporate all of their objections identified

in answer to Interrogatory Number 8. Subject to and without waiving these

objections and the foregoing General Objections, City Defendants will not

provide responsive information unless and until the Court issues an order

permitting discovery in excess of the customary and regularly enforced practice

limiting discovery to 25 interrogatories.

       10.   Identify all individual Minneapolis Police Department personnel

who responded in person to incidents at or around East 31st Street between

Nicollet Ave. and 1st Ave. South, Nicollet Ave. between 31st Ave. and Lake

Street, or West 31st Street between Nicollet Ave., and Blaisdell Ave, in the City of

Minneapolis between May 29, 2020 at 10:00 pm CDT and May 30, 2020 at 1:00 am

CDT.

       ANSWER: City Defendants object to this Interrogatory to the extent it

seeks private, non-public personnel data or other data prohibited from disclosure

by the Minnesota Government Data Practices Act. City Defendants also object to

this Interrogatory to the extent it is temporally overly broad, seeking information

relating to personnel after the time Plaintiff alleges she was injured.        City

Defendants further object to this Interrogatory as being in excess of 25


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Interrogatories.   Subject to and without waiving these objections and the

foregoing General Objections, the City Defendants will not provide responsive

information unless and until the Court issues an order permitting discovery in

excess of the customary and regularly enforced practice limiting discovery to 25

interrogatories. City Defendants, however, direct Plaintiff to their Response to

Document Request Number 2.

Dated: __________________            _________________________________
                                     Medaria Arradondo
                                     Chief of Police
                                     Minneapolis Police Department
AS TO OBJECTIONS:

Dated: November 23, 2020              JAMES R. ROWADER, JR.
                                      City Attorney
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                      UNITED STATES DISTRICT COURT

                           DISTRICT OF MINNESOTA


Linda Tirado,                                    Case No. 20-cv-01338 (JRT/ECW)

                   Plaintiff,

   vs.                                          DEFENDANTS CITY OF
                                             MINNEAPOLIS AND MEDARIA
City of Minneapolis; Minneapolis Chief       ARRADONDO’S ANSWERS TO
of Police Medaria Arradondo, in his           PLAINTIFF’S FIRST SET OF
official capacity; Robert Kroll, in his      REQUEST FOR PRODUCTION
individual capacity; and Minneapolis              OF DOCUMENTS
Police Department Officers John Does
1-4, in their official and individual
capacities,

                   Defendants.


                            GENERAL OBJECTIONS

         Defendants City of Minneapolis and Medaria Arradondo (hereinafter

“City Defendants”) make the following General Objections to Plaintiff’s First Set

of Requests for Production of Documents (“Document Requests”):

         1.   Regardless of Plaintiff’s instructions and definitions, the City

Defendants do not undertake any obligation to respond to Plaintiff’s Document

Requests other than those obligations set forth in the Federal Rules of Civil

Procedure.




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        2.    The City Defendants object to Plaintiff’s Document Requests to the

extent that they seek information not proportional to the needs of the case,

considering the importance of the issues at stake in this action, the importance of

resolving the issues, and whether the burden or expense of the proposed

discovery outweighs its benefit.

        3.    The City Defendants object to Plaintiff’s Document Requests to the

extent that they request privileged information not subject to discovery,

including information protected by the attorney-client privilege, work product

doctrine or any other privilege or protective doctrines.

        4.    The City Defendants object to Plaintiff’s Document Requests to the

extent that they assume, imply, or require legal conclusions.

        5.    The City Defendants object to Plaintiff’s Document Requests to the

extent that they seek information already in the custody and control of the

Plaintiff.

        6.    The City Defendants object to Plaintiff’s Document Requests to the

extent they are premature at this stage of the action, including but not limited to

any effort to seek information concerning the City Defendants contentions or

potential affirmative defenses to the action prior to the close of discovery in this

case.




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      7.    The City Defendants object to Plaintiff’s Document Requests to the

extent that they are vague, ambiguous, overly broad, unduly burdensome,

duplicative, oppressive, harassing, or that they seek to require that the City

Defendants undertake an unreasonable investigation.

      8.    The City Defendants object to Plaintiff’s Document Requests to the

extent that they seek information in the possession and/or control of other

parties, parties that have not been served in this matter, and entities that are not

parties to this lawsuit, including, but not limited to, Robert Kroll, John Does, and

Minnesota National Guard, and Minnesota State Patrol.

      9.    The City Defendants object to Plaintiff’s Document Requests to the

extent they seek information that is not reasonably calculated to lead to the

discovery of admissible evidence.

      10.   The City Defendants object to Plaintiff’s Document Requests to the

extent they seek confidential information, including but not limited to, private

personnel data, law enforcement information, and other private, non-public data.

The City Defendants will produce relevant, non-privileged documents pursuant

to the terms of a Protective Order.

      11.   The City Defendants object to Plaintiff’s Document Requests to the

extent that they are directed to any persons or entities purporting to act on behalf




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of the City of Minneapolis, Chief Arradondo or the Minneapolis Police

Department.

      12.   In providing these Responses, the City Defendants do not in any

manner waive:

      a.    All objections relating to competence, relevance, materiality,
            privilege and admissibility;

      b.    All rights to object, on any grounds, to the use of these Responses, or
            information or documents provided in response to these Document
            Requests, in any other or subsequent proceedings, including any
            hearing in this or any other action;

      c.    All rights to object on any grounds to any further discovery requests
            involving or related to the subject matter of any of these Document
            Requests; and

      d.    All rights to supplement and/or amend these Responses based on
            recollections of persons presently unavailable or based upon the
            discovery of additional documents or evidence.

      13.   City Defendants object to the Plaintiff’s requests for electronically

stored data or metadata to the extent it is overly broad, unduly burdensome, or

not maintained by the City in the regular course of business.

      14.   Each of these General Objections is incorporated into the City

Defendant’s Responses to each Document Request as if fully stated therein.

      15.   These General Objections and Responses are based on information

currently known. The City Defendants reserve the right to amend, modify or




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supplement these General Objections and Responses to the fullest extent

permitted by all applicable Rules and Court Orders.

                            DOCUMENT REQUESTS

1.    Documents and Communications sufficient to identify each of John Does
      1-4.

      RESPONSE:        Plaintiff’s Document Requests define “John Does 1-4” as

“individual member or members of the Minneapolis Police Department or agents

of the City of Minneapolis who were involved in causing the deployment of the

less-lethal projectile that struck Tirado in her left eye.” City Defendants object to

this definition and Document Request on the grounds that the phrase “involved

in causing” is vague, ambiguous, and seeks irrelevant information, particularly

since the First Amended Complaint alleges Plaintiff was struck once in the left

eye and, therefore, multiple individuals were not involved in causing her to

allegedly be struck. City Defendants also object to the definition of “John Does 1-

4” and this Document Request on the grounds that it premature, particularly to

the extent it presumes Plaintiff was struck in the eye with a less-lethal projectile

by an MPD officer or agent. City Defendants further object to this Document

Request to the extent it seeks attorney work product or calls for a legal

conclusion with respect to causation and whether an individual is an agent of the

MPD, and improperly seeks to place the burden of identifying the John Does on

the City Defendants.     City Defendants additionally object to this Document
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Request to the extent it seeks private, non-public personnel data or other data

prohibited from disclosure by the Minnesota Government Data Practices Act.

      Subject to and without waiving these objections and the foregoing General

Objections, and without conceding that Plaintiff was struck in the eye with a less-

lethal projectile by an MPD officer, upon the entry of a Protective Order, the City

Defendants will provide Plaintiff with relevant body worn camera video footage

recorded on the evening of May 29, 2020, and a General Offense Report related to

events occurring where Plaintiff claims to have been injured on May 29, 2020.

Discovery is ongoing and the City Defendants reserve the right to supplement

this Response.

2.    Documents and Communications sufficient to identify all officers of the
      Minneapolis Police Department on duty in the Area Near Minneapolis’s
      Fifth Precinct during the May 29 Protests.

      RESPONSE: Plaintiff has informed the City Defendants that she intends

to amend her First Amended Complaint to allege that she was struck by a less-

lethal projectile at approximately 11:34 p.m. on May 29, 2020. Plaintiff has also

informed City Defendants that she will only provide information, including

photographs and audio recording for the timeframe of 11:23 p.m. on May 29,

2020, to 11:59 on May 30, 2020, in response to the City Defendants’ discovery

requests.   Plaintiff defines the term “May 29 Protests” to be a two-day period,




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specifically, protests “occurring on May 29, 2020 and after midnight on May 30,

2020 in Minneapolis, Minnesota.”

      City Defendants object to Plaintiff’s two-day period definition of “May 29

Protests” and the use of this term in the Document Request as being overly

broad, unduly burdensome, seeking disproportionate discovery, and seeking

irrelevant information unrelated to the time of Plaintiff’s alleged injury, both

before and after her alleged injury. City Defendants also object to the definition

of “Area Near Minneapolis’s Fifth Precinct” and this Document Request as being

geographically over broad, unduly burdensome and seeking irrelevant

information unrelated to the location where Plaintiff was allegedly injured. City

Defendants further object to this Document Request as being overly broad,

unduly burdensome, and seeking irrelevant information in so far as it seeks

information sufficient to identify “all” officers on duty over a two-day period

and in a geographically overly broad area. City Defendants additionally object

to this Document Request to the extent it seeks private, non-public personnel

data or other data prohibited from disclosure by the Minnesota Government

Data Practices Act.

      Subject to and without waiving these objections and the foregoing General

Objections, upon the entry of a Protective Order, City Defendants will produce

document(s) sufficient to identify the officers that were on duty for the Fifth


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Precinct on May 29, 2020. Discovery is ongoing and the City Defendants reserve

the right to amend this Response.

3.    Documents and Communications sufficient to identify all vehicles of the
      Minneapolis Police Department located in the Area Near Minneapolis’s
      Fifth Precinct at any time during the May 29 Protests, as well as which
      officers were assigned to such vehicles.

      RESPONSE:       City Defendants incorporate their objections to the

definitions of “Area Near Minneapolis’s Fifth Precinct” and “May 29 Protests”

and use of those definitions as set forth in Response to Document Request

Number 2. City Defendants also object to this Document Request as being overly

broad temporally and geographically, unduly burdensome, and seeking

irrelevant information. City Defendants further object to this Document Request

as being compound and composed of two different Document Requests, in so far

as it seeks information about both the identification of vehicles used and the

identification of individuals using the vehicles, each of which will count toward

the document request limit to be imposed by the Court upon the entry of a

Scheduling Order or other order governing discovery.              City Defendants

additionally object to this Document Request to the extent it seeks private, non-

public personnel data or other data prohibited from disclosure by the Minnesota

Government Data Practices Act.

      Subject to and without waiving these objections and the foregoing General

Objections, upon the entry of a Protective Order, City Defendants will provide
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the Plaintiff with a General Offense Report and Incident Detail Report related to

events occurring near the Fifth Precinct on May 29, 2020. Discovery is ongoing

and the City Defendants reserve the right to supplement this Response.

4.    All Minneapolis Police Department personnel files for any of John Does 1-
      4.

      RESPONSE: City Defendants incorporate their objections to the definition

of “John Does 1-4” and use of that term as set forth in Response to Document

Request Number 1. City Defendants also object to this Document Request to the

extent it improperly seeks to place the burden of identifying the John Does on the

City Defendants, and calls for attorney work product. City Defendants further

object to this Document Request to the extent it seeks private, non-public

personnel data or other data prohibited from disclosure by the Minnesota

Government Data Practices Act.

      Subject to and without waiving these objections and the foregoing General

Objections, and without conceding that Plaintiff was struck in the eye with a less-

lethal projectile by an MPD officer, City Defendants will produce the personnel

files of the John Does once identified by name by the Plaintiff and upon the entry

of a Protective Order.

5.    All Documents and Communications relating to any complaints filed with
      the Internal Affairs Unit of the Minneapolis Police Department in
      connection with the George Floyd Protests or any Previous Press Incidents.



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      RESPONSE:        Plaintiff’s Document Requests defines “George Floyd

Protests” as “the public protests, demonstrations, and gatherings that occurred

from May 26, 2020 through June 3, 2020 in Minneapolis.” Plaintiff’s Document

Requests defines “Previous Press Incidents” as “any instances in which the Use

of Force was utilized by You or any member of the Minneapolis Police

Department or John Does 1-4 against any Member of the Press from August 18,

2008 to May 25, 2020, including but not limited to the Use of Force in connection

with the 2008 Republican National Convention or related protest activities.”

Plaintiff’s Document Requests also defines “Use of Force” to include various

types of force, including, but not limited to, “restraint, hand or foot strikes,

strikes with a baton . . . . chemical agents . . . flash-bang grenades, long-range

audio devices, microwave beams, or strobe lights.” City Defendants object to

these definitions and this Document Request as encompassing and seeking

information that is overly broad, unduly burdensome, and irrelevant,

particularly given that the stated temporal periods occur substantially before and

after the Plaintiff’s incident, and substantially before and after the May 26 to May

31, 2020, period which Plaintiff alleges to be the relevant period for her custom

claim against the City. City Defendants further object to this Document Request

as being overly broad, unduly burdensome, and seeking irrelevant information

in so far as it seeks information relating to complaints relating to uses of force


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that bear no similarity to the Plaintiff’s allegation that she was struck with a less-

lethal projectile, and calling for documents protected by the attorney-client

privilege or work product doctrine.     City Defendants additionally object to the

Document Request as being overly broad and unduly burdensome in so far as it

seeks “all” documents and communications relating to complaints made to the

Internal Affairs Department, and objects on the basis that it calls for the

production of information protected by the attorney-client privilege. Moreover,

City Defendants object to this Document Request as being unduly burdensome

and requiring the City to undertake an unreasonable investigation because, as

records are kept in the normal course of business, it would not be readily

identifiable whether the complainant was a member of the press, particularly

given the objectionably overbroad definition of “Member of the Press” provided

by Plaintiff. City Defendants additionally object to this Document Request to the

extent it seeks information already in the possession or control of Plaintiff. City

Defendants finally object to this Document Request to the extent it seeks private,

non-public personnel data or other data prohibited from disclosure by the

Minnesota Government Data Practices Act.

      Subject to and without waiving these objections and the foregoing General

Objections, and upon entry of a Protective Order, City Defendants will produce

copies of complaints, if any, made to the Minneapolis Police Department’s


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Internal Affairs Unit relating to the use of less-lethal projectiles against known

members of the press between May 26 and May 31, 2020.

6.    All Documents and Communications related to Minneapolis Civilian
      Review Authority and Office of Police Conduct Review records in
      connection with the George Floyd Protests or any Previous Press Incidents.

      RESPONSE: City Defendants incorporate all of the objections set forth in

Response to Document Request Number 5. Subject to and without waiving those

objections and the foregoing General Objections, and upon entry of a Protective

Order, City Defendants will produce copies of complaints, if any, made to the

Office of Police Conduct Review relating to the use of less-lethal projectiles

against known members of the press between May 26 and May 31, 2020.

7.    All Documents and Communications relating to any disciplinary
      proceedings against any Minneapolis Police Department officers,
      including but not limited to the John Does 1-4, in connection with the
      George Floyd Protests or any Previous Press Incidents.

      RESPONSE:       City Defendants incorporate all objections set forth in

Response to Document Request Numbers 1 and 5 with respect to the definitions

and use of the terms “John Does 1-4,” “George Floyd Protests, “Previous Press

Incidents,” and “Use of Force.” City Defendants also object to this Document

Request as being overly broad and unduly burdensome in so far as it seeks “all”

documents and communications relating to any disciplinary hearings referenced,

and objects on the basis that it calls for the production of information protected

by the attorney-client privilege or attorney work product doctrine. City
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Defendants finally object to this Document Request to the extent it seeks private,

non-public personnel data or other data prohibited from disclosure by the

Minnesota Government Data Practices Act.

      Subject to and without waiving these objections and the foregoing General

Objections, and upon entry of a Protective Order, City Defendants will produce

documents related to any disciplinary proceedings involving allegations of

improper uses of less-lethal projectiles against known members of the press

between May 26 and May 31, 2020, and documents related to any disciplinary

proceedings against the John Doe who allegedly struck Plaintiff with a less-lethal

projectile, once identified by name by the Plaintiff, to the extent they relate to

incidents occurring between May 26 and May 31, 2020, incidents involving

known members of the press, or incidents using less-lethal projectiles.

8.    All Documents and Communications relating to any discussion, decision,
      command, or instruction by You, the Minneapolis Police Department, the
      Minnesota Peace Officer Standards and Training (POST) Board, or any
      Defendant regarding whether or not to conduct any disciplinary
      proceedings against any Minneapolis Police Department personnel,
      including but not limited to any of the John Does 1-4, in connection with
      the George Floyd Protests and any Previous Press Incidents.

      RESPONSE:       City Defendants incorporate all objections set forth in

response to Document Request Numbers 1 and 5 with respect to the definitions

and use of the terms “John Does 1-4,” “George Floyd Protests,” “Previous Press

Incidents,” and “Use of Force.” City Defendants also object to this Document


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Request as being overly broad and unduly burdensome with respect to the

breadth of the definition of “You” and in so far as it seeks “all” documents and

communications relating to any “discussion, decision, command, or instruction.”

City Defendants further object to this Document Request on the basis that it calls

for the production of information protected by the attorney-client privilege. City

Defendants additionally object to this Document Request to the extent it seeks

information in the custody and control of POST or another Defendant, and

outside the custody and control of the City Defendants. City Defendants finally

object to this Document Request to the extent it seeks private, non-public

personnel data or other data prohibited from disclosure by the Minnesota

Government Data Practices Act.

      Subject to and without waiving these objections and the foregoing General

Objections, and upon entry of a Protective Order, City Defendants will produce

documents related to any disciplinary proceedings involving allegations of

improper uses of less-lethal projectiles against known members of the press

between May 26 and May 31, 2020, and against the John Doe who allegedly

struck Plaintiff with a less-lethal projectile, once identified by name by the

Plaintiff, to the extent they relate to incidents occurring between May 26 and

May 31, 2020, incidents involving known members of the press, or incidents

using less-lethal projectiles.


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9.     For the period May 25, 2020 to present, all Documents and
       Communications regarding the assignment and tracking of any of the
       following items used by the Minneapolis Police Department during the
       George Floyd Protests: a) less-lethal or non-lethal projectiles; b) ballistic
       tracking rounds, foam rounds or bullets, chemical irritants, firearms,
       weapons, SWAT gear, or combat gear; and c) other equipment,
       ammunition, weapons or devices.

       RESPONSE: City Defendants object to this Document Request as being

unduly burdensome, overly broad, and seeking irrelevant information,

particularly to the extent it seeks information with respect to equipment and

munitions that are not alleged to have been involved in Plaintiff’s incident and

for a time period unrelated to Plaintiff’s incident or the custom alleged to exist by

Plaintiff.   City Defendants also object to this Document Request as being

compound and consisting of at least twelve document requests in so far as it

seeks both assignment and tracking related information for at least twelve

different types of equipment and munition, each of which will count toward the

document request limit to be imposed by the Court upon the entry of a

Scheduling Order or other order governing discovery. City Defendants further

object to this Document Request as being unduly and burdensome in so far as it

seeks “all” documents and communications related to the equipment and

munitions listed. City Defendants additionally object to this Document Request




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to the extent it seeks private, non-public personnel data or other data prohibited

from disclosure by the Minnesota Government Data Practices Act.

      Subject to and without waiving these objections and the foregoing General

Objections, upon entry of a protective order, City Defendants will produce

documents related to the assignment and tracking of less-lethal projectiles

between May 26 and May 31, 2020.

10.   For the period of May 25, 2020 to present, all Documents and
      Communications relating to any Dispersal Order issued during the May 29
      Protests.

      RESPONSE: City Defendants object to this Document Request as being

unduly burdensome, overly broad, and seeking irrelevant information to the

extent it seeks information relating to any dispersal orders provided at a date

and time unrelated to Plaintiff’s alleged injury on May 29 at approximately 11:34

p.m. and to the extent it seeks “all” documents and communications.           City

Defendants also object to this Document request as seeking information equally

within the Plaintiff’s possession and control to the extent it related to dispersal

orders made by law enforcement agencies other than the Minneapolis Police

Department. City Defendants further object to this Document Request to the

extent it seeks private, non-public personnel data or other data prohibited from

disclosure by the Minnesota Government Data Practices Act.




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      Subject to and without waiving these objections and the foregoing General

Objections, upon entry of a protective order, City Defendants will provide

relevant body worn camera video footage, radio recordings, and a General

Offense Report related to area where Plaintiff claims to have been injured on the

evening of May 29, 2020.

11.   All body worn camera video footage recorded from May 29, 2020 at 10:00
      p.m. CDT and May 30, 2020 at 1:00 a.m. CDT by Minneapolis Police
      Department officers who were on duty at or around the Area Near
      Minneapolis’ Fifth Precinct during that time period.

      RESPONSE: City Defendants incorporate their objections to the definition

and use of the term “Area Near Minneapolis’s Fifth Precinct” as set forth in

response to Document Request Number 2. City Defendants also object to this

Document Request to the extent it seeks private, non-public personnel data or

other data prohibited from disclosure by the Minnesota Government Data

Practices Act. Subject to and without waiving these objections and the foregoing

General Objections, upon entry of a protective order, City Defendants will

provide relevant body worn camera footage for officers on duty for the Fifth

Precinct on the evening of May 29, 2020.

12.   All video records, including police surveillance or building security
      footage recorded at any time between May 29, 2020 at 10:00 p.m. CDT and
      May 30, 2020 at 1:00 a.m. CDT and capturing footage of or around the Area
      Near the Minneapolis’s Fifth Precinct, including but not limited to cameras
      affixed to the awning over the sidewalk and stairs leading to the
      Minneapolis Police Department Fifth Precinct building’s Nicollet Avenue


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      entrance or affixed to the northernmost overhang of the building on the
      31st Avenue side.

      RESPONSE: City Defendants incorporate their objections to the definition

and use of the term “Area Near Minneapolis’s Fifth Precinct” as set forth in

response to Document Request Number 2. City Defendants also object to this

Document Request as being overly broad and seeking irrelevant information to

the extent it seeks video recording after Plaintiff’s alleged incident. City

Defendants further object to the Document Request on the grounds that the term

“police surveillance” is vague and ambiguous, and to the extent it seeks

information outside the possession and control of the City Defendants. City

Defendants further object to this Document Request to the extent it seeks private,

non-public personnel data or other data prohibited from disclosure by the

Minnesota Government Data Practices Act.

      Subject to and without waiving these objections and the foregoing General

Objections, upon entry of a protective order, City Defendants will provide video

recording from the Fifth Precinct building on the evening of May 29, 2020.

13.   All traffic camera footage recorded at any time between May 29, 2020 at
      10:00 p.m. CDT and May 30, 2020 at 1:00 a.m. CDT of or around East 31st
      Street between Nicollet Ave. and 1st Ave. South, Nicollet Ave. between
      31st Ave. and Lake Street, or West 31st Street between Nicollet Ave. and
      Blaisdell Ave.

      RESPONSE:      City Defendants object to this Document Request to the

extent it seeks information outside the possession and control of the City
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Defendants. City Defendants also object to this Document Request as being

overly broad and seeking irrelevant information to the extent it seeks camera

footage after Plaintiff’s alleged incident. City Defendants further object to this

Document Request to the extent it seeks private, non-public personnel data or

other data prohibited from disclosure by the Minnesota Government Data

Practices Act.

      Subject to and without waiving these objections and the foregoing General

Objections, upon entry of a protective order, City Defendants will provide traffic

camera footage at the requested locations, if any, on the evening of May 29, 2020.

14.   For the period May 25, 2020 to present, all Documents and
      Communications, including but not limited to incident reports or incident
      summaries, relating to any Use of Force during the George Floyd Protests,
      including but not limited to incident reports or incident summaries
      involving Members of the Press.

      RESPONSE: City Defendants incorporate their objections to the definition

and use of the terms “Use of Force” and “George Floyd Protests” as set forth in

response to Document Request Number 5. City Defendants also object to this

Document Request as being unduly burdensome and requiring the City to

undertake an unreasonable investigation because, as records are kept in the

normal course of business, it would not be readily identifiable whether an

incident involved a member of the press, particularly given the objectionably

overbroad definition of “Member of the Press” provided by Plaintiff.          City


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Defendants further object to this Document Request as being unduly

burdensome, overly broad, and seeking irrelevant information, particularly to

the extent it seeks information with respect to uses of force that are not alleged to

have been involved in Plaintiff’s incident and for the time period after May 31,

2020, which is unrelated the custom alleged to exist by Plaintiff. City Defendants

finally object to this Document Request as being in excess of 25 Document

Requests. Subject to and without waiving these objections and the foregoing

General Objections, the City Defendants will not provide responsive documents

unless and until the Court issues an order permitting discovery in excess of the

customary and regularly enforced practice limiting discovery to 25 document

requests.

15.   For the period May 25, 2020 to present, all Documents and
      Communications between or among You and any Defendant relating to
      Tirado.

      RESPONSE:       City Defendants object to this Document Request to the

extent it seeks information protected by the attorney-client privilege.         City

Defendants also object to this Document Request as being overly broad and

unduly burdensome based on the breadth of the definition of “You” provided by

Plaintiff, particularly to the extent it includes all City employees and those

“purporting to act on behalf of” the City, MPD, or Chief Arradondo. City

Defendants also object to this Document Request to the extent it seeks


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information equally within the possession of other Defendants. City Defendants

further object to this Document Request as being in excess of 25 Document

Requests. City Defendants additionally object to this Document Request on the

grounds that Plaintiff has not yet identified the John Doe Defendants by name,

making a complete search for information impossible. City Defendants finally

object to this Document Request to the extent it seeks private, non-public

personnel data or other data prohibited from disclosure by the Minnesota

Government Data Practices Act. Subject to and without waiving these objections

and the foregoing General Objections, the City Defendants will not provide

responsive documents, if any exist, unless and until the Court issues an order

permitting discovery in excess of the customary and regularly enforced practice

limiting discovery to 25 document requests.

16.   All Documents and Communications between or among You and any
      Defendants relating to the Use of Force (including but not limited to the
      use of less-lethal or non-lethal projectiles) against any Members of the
      Press in connection with public protests, riots, demonstrations or
      gatherings.

      RESPONSE: City Defendants incorporate their objections to the definition

and use of the terms “Use of Force, “Members of the Press,” and “You” as set

forth in response to Document Request Numbers 5, 8 and 14. City Defendants

object to this Document Request to the extent it seeks information protected by

the attorney-client privilege.   City Defendants also object to this Document


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Request as being unduly burdensome and overly broad based on the temporal

period listed in the Plaintiff’s instructions and definitions, being August 18, 2008,

to the present, particularly since this period is substantially before and after the

custom alleged to exist by Plaintiff. Moreover, City Defendants object to this

Document Request to the extent it seeks private, non-public personnel data or

other data prohibited from disclosure by the Minnesota Government Data

Practices Act. City Defendants finally object to this Document Request as being

in excess of 25 Document Requests.        Subject to and without waiving these

objections and the foregoing General Objections, the City Defendants will not

provide responsive documents, if any exist, unless and until the Court issues an

order permitting discovery in excess of the customary and regularly enforced

practice limiting discovery to 25 document requests.

17.   All recordings, photographs or videos relating to: a) Tirado; b) any
      Members of the Press taken during the George Floyd Protests; and c) any
      Previous Press Incidents.

      RESPONSE:           City Defendants incorporate their objections to the

definition and use of the terms “Members of the Press,” “George Floyd Protests,”

“Previous Press Incidents” and “Use of Force” as set forth in response to

Document Request Numbers 5, 8, and 14. City Defendants also object to this

Document Request as being overly broad, unduly burdensome, and seeking

irrelevant information, particularly to the extent it seeks information about uses


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of force unrelated to the use of less-lethal projectiles, as alleged to have been

used in Plaintiff’s incident.   City Defendants also object to this Document

Request as being unduly burdensome and requiring the City to undertake an

unreasonable investigation because, as records are kept in the normal course of

business, it would not be readily identifiable whether the incident involved a

member of the press, particularly given the objectionably overbroad definition of

“Member of the Press” provided by Plaintiff. City Defendants further object this

Document Request as being compound and composed of at least three different

Document Requests, in so far as it seeks information about: (1) Tirado, (2)

Members of the Press, and (3) Previous Press Incidents, each of which will count

toward the document request limit to be imposed by the Court upon the entry of

a Scheduling Order or other order governing discovery.            Moreover, City

Defendants object to this Document Request to the extent it seeks private, non-

public personnel data or other data prohibited from disclosure by the Minnesota

Government Data Practices Act. City Defendants finally object to this Document

Request as being in excess of 25 Document Requests. Subject to and without

waiving these objections and the foregoing General Objections, the City

Defendants will not provide responsive documents, if any exist, unless and until

the Court issues an order permitting discovery in excess of the customary and

regularly enforced practice limiting discovery to 25 document requests.


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18.   All Documents and Communications relating to any customs, practices,
      policies or procedures of the Minneapolis Police Department relating to: a)
      the Use of Force; b) the use of ballistic tracking rounds; c) crowd control
      (including but not limited to public protests, riots, demonstrations or
      gatherings); and d) the identification or treatment of any Member of the
      Press in connection with any of the above.

      RESPONSE: City Defendants incorporate their objections to the definition

and use of the terms “Use of Force” and “Member of the Press” as set forth in

response to Document Request Number 5. City Defendants also object to this

Document Request as being unduly burdensome and overly broad both

temporally and in so far as it requests “all” documents and communications.

City Defendants further object to this Document Request as being unduly

burdensome and requiring the City to undertake an unreasonable investigation

because, as records are kept in the normal course of business, it would not be

readily identifiable whether the incident involved a member of the press,

particularly given the objectionably overbroad definition of “Member of the

Press” provided by Plaintiff. City Defendants further object to this Document

Request as being compound and composed of at least seven different Document

Requests, in so far as it seeks information about: (1) customs, (2) practices, and (3)

policies or procedures pertaining to (5) broadly defined Uses of Force, (6) use of

ballistic tracking rounds, and (7) crowd control, each of which will count toward

the document request limit to be imposed by the Court upon the entry of a

Scheduling Order or other order governing discovery.                Moreover, City
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Defendants object to this Document Request to the extent it seeks private, non-

public personnel data or other data prohibited from disclosure by the Minnesota

Government Data Practices Act. City Defendants finally object to this Document

Request as being in excess of 25 Document Requests. Subject to and without

waiving these objections and the foregoing General Objections, the City

Defendants will not provide responsive documents unless and until the Court

issues an order permitting discovery in excess of the customary and regularly

enforced practice limiting discovery to 25 document requests.

19.   All Documents and Communications relating to any manufacturer
      recommendations regarding the Minneapolis Police Department’s: a) use
      of less-lethal or non-lethal projectiles (including but not limited to foam
      rounds or bullets and marking rounds); and b) use of chemical irritants.

      RESPONSE:          City Defendants object to this Document Request on the

grounds it is overly broad and unduly burdensome in so far as it seeks “all”

documents and communications and seeks irrelevant information, particularly

with respect to manufacturer’s recommendations pertaining to the use of

chemical irritants, which are not alleged to have been used against Plaintiff. City

Defendants also object to this Document Request on the grounds that it seeks

information equally within the possession of the Plaintiff, and based on the

allegations in the Amended Complaint, are already within the Plaintiff’s

possession.   City Defendants further object this Document Request as being

compound and composed of at least two different Document Requests, in so far
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as it seeks information about different manufacturers’ recommendations

pertaining to (1) less-lethal or non-lethal projectiles, and (2) chemical irritants,

each of which will count toward the document request limit to be imposed by the

Court upon the entry of a Scheduling Order or other order governing discovery.

City Defendants additionally object to this Document Request as being in excess

of 25 Document Requests. Subject to and without waiving these objections and

the foregoing General Objections, the City Defendants will not provide

responsive documents, if any, unless and until the Court issues an order

permitting discovery in excess of the customary and regularly enforced practice

limiting discovery to 25 document requests.

20.   All Documents and Communications relating to any training programs,
      courses or education of Minneapolis Police Department officers,
      employees or officials – including those performed by equipment
      manufacturers, other third parties, the Minneapolis Police Department, the
      Minnesota Peace Officer Standards and Training (POST) Board, or other
      government-related bodies – that relate to: a) the Use of Force; b) the use of
      less-lethal or non-lethal projectiles; c) the use of foam rounds or bullets,
      weapons, firearms, devices, SWAT gear, combat gear chemical irritants;
      and d) any tactics or methods used for crowd control, public protests, riots
      or other public demonstrations or gatherings.

      RESPONSE: City Defendants incorporate their objections to the definition

and use of the term “Use of Force” as set forth in response to Document Request

Number 5. City Defendants object to this Document Request as being compound

and composed of at least eighteen different Document Requests, in so far as it

seeks information about various training and education by no less than six
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different bodies on well over a dozen topics, each of which will count toward the

document request limit to be imposed by the Court upon the entry of a

Scheduling Order or other order governing discovery. City Defendants also

object to this Document Request as being overly broad, unduly burdensome, and

seeking irrelevant information, both temporally and substantively.          City

Defendants further object to this Document Request to the extent it seeks

information within the possession and control of other entities and also equally

within the Plaintiff’s possession.    Moreover, City Defendants object to this

Document Request to the extent it seeks private, non-public data or other data

prohibited from disclosure by the Minnesota Government Data Practices Act.

City Defendants finally object to this Document Request as being in excess of 25

Document Requests. Subject to and without waiving these objections and the

foregoing General Objections, the City Defendants will not provide responsive

documents unless and until the Court issues an order permitting discovery in

excess of the customary and regularly enforced practice limiting discovery to 25

document requests.


Dated: _____________________         ______________________________
                                     Medaria Arradondo
                                     Chief of Police
                                     Minneapolis Police Department




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AS TO OBJECTIONS:

Dated: November 23, 2020             JAMES R. ROWADER, JR.
                                     City Attorney
                                     By /s Kristin R. Sarff
                                     KRISTIN R. SARFF (0388003)
                                     SHARDA ENSLIN (0389370)
                                     HEATHER ROBERTSON (0390470)
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                                     Attorneys for City of Minneapolis and
                                     Medaria Arradondo




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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


Linda Tirado,                                         Case No. 20-CV-01338 (JRT/ECW)

                      Plaintiff,

        vs.                                              DEFENDANTS
                                                  CITY OF MINNEAPOLIS’ AND
                                                   MEDARIA ARRADONDO’S
City of Minneapolis, Minnesota Chief of          RULE 26 INITIAL DISCLOSURES
Police Medaria Arradondo, in his official
capacity; Robert Kroll, in his individual
capacity; and John Does 1-4, in their
individual and official capacities,

                      Defendants.


       Pursuant to Rule 26(a)(1), Defendants Minneapolis Chief of Police Medaria

Arradondo, in his official capacity, and the City of Minneapolis (“City Defendants”) make

the following initial disclosures concerning the disputed facts alleged with particularity in

the pleadings.

                           INTRODUCTORY STATEMENT

       The following disclosures are made based on the information reasonably available

to the City Defendants as of the date hereof. By making these disclosures, the City

Defendants do not represent that they are identifying every document, tangible thing or

witness that they may possibly use to support their claims or defenses.            The City

Defendants’ disclosures represent a good faith effort to identify information they

reasonably believe may be used to support their claims or defenses, unless solely for

impeachment, as required by Rule 26(a)(1).



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       Finally, the City Defendants’ disclosures are made without in any way waiving:

(1) the right to object on the grounds of competency, privilege, relevancy and materiality,

hearsay, data classification or any other proper ground, to the use of any such information,

for any purpose, in whole or in part, in any subsequent proceeding in this action or any

other action; and (2) the right to object on any and all grounds, at any time, to any other

discovery request or proceeding involving or relating to the subject matter of these

disclosures.

                                    DISCLOSURES

A.     Name and, if known, the address and telephone number of each individual likely to
       have discoverable information that City Defendants may use to support their claims
       or defenses, unless solely for impeachment, identifying the subjects of the
       information.

          Name and Address                     Subject matter of the Information
 City employees, including               Knowledge of police events occurring on May
 Minneapolis Police Department           26, 2020
 personnel may be contacted through
 counsel for City Defendants.

•    Daryl McKenna
•    Andrew Stender
•    John Owen
•    Shannon Barnette
•    Dominic Manelli
•    Kristopher Dauble
•    Justin Stetson
•    Cory Taylor
•    Xavier Rucker
•    Tyler Klund
•    Spencer Ericson
•    Chad Fuchs
•    Graham Plys
•    David Robins
•    Timothy Davis



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          Name and Address               Subject matter of the Information
•   Nathan Sundberg
•   Andrew Allen
•   Benjamin Hain
•   Saul Garza
•   Andrew Bittell
•   Ryan Carrero
•   Justin Young
•   Donovan Ford
•   Mark Riggenberg
•   Michael Osbeck, Jr.
•   Matthew Kaminski
•   Adam Hakanson
•   Samantha Belcourt
•   Rian Jensen
•   Mark Hanneman
•   Mark Doll
•   Benjamin Johnson
•   Joseph Grout
•   Conan Hickey
•   Andrew Allen
•   Christopher Bennet
•   Joseph Osuji
•   Scott Creighton
•   Nicholas Pielert
•   Souphaphone Daoheuang
•   Efrem Hamilton
•   Hu Her
•   Robert Hieple
•   Amanda Hanchez
•   Benjamin Chaput
•   Daniel Paine
•   Davis Mueller
•   Matthew Cashin
•   Cory Fitch
•   Jesada Moua
•   Christopher Carlson
•   Chaz Wilson
•   Ryan Kingdon
•   Melissa Dalnes




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         Name and Address                Subject matter of the Information
•   Jerome Carey
•   Kristopher Brown
•   Calvin Cook
•   Russell Lind
•   Lucas Nightengale
•   Peter Bacon
•   George Judkins
•   Adam Moen
•   Daniel Lysholm
•   Anthony Olson
•   Paul Hatle
•   Luke Bakken
•   Christopher Hudok
•   Joel Hagen
•   Nathan Dzuik
•   Gabriel Grout

●   Andrew Stender                  Knowledge of police events occurring on May
●   Matthew Kaminski                27, 2020
●   Kristopher Dauble
●   Gabriel Grout
●   Donovan Ford
●   Xavier Rucker
●   Toula Lor
●   Jon Schliesing
●   Joel Pucely
●   Jeremy Riley
●   Samantha Belcourt
●   Brandon Knuth
●   Justin Young
●   Ben Bauer
●   Mark Ringgenberg
●   Rian Jensen
●   Ryan McCann
●   Michael Meath
●   Daniel Ungurian
●   Daniel Payne
●   Benjamin Chaput
●   Shannon Barnette
●   Nick Englud
●   Andrew Bittel



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     CASE 0:20-cv-01338-JRT-JFD Doc. 109-1 Filed 12/13/21 Page 63 of 76




         Name and Address                    Subject matter of the Information
●   Christopher Cushenberry
●   Timothy Davis
●   Nathan Sundberg
●   Cory Taylor
●   Tyler Klund
●   Mark Hanneman
●   Eric Duong
●   Daniel Schwarze
●   George Peltz
●   Lucas Peterson
●   Mark Doll
●   Brian Bennett
●   Craig Crisp
●   Andrew Braun
●   Juan Valencia
●   Shawn Kelly
●   Paul Huynh
●   Johnathan Pobuda
●   Marcus Ottney
●   Efram Hamilton
●   Souphaphone Daoheuang
●   Adam Lewis
●   Luis Realivasquez
●   Jacob Weess
●   Conan Hickey
●   Brian Collins
●   Kevin Angerhofer
●   Joseph Osuji
●   Joshua Otto
●   Nicholas Pielert
●   Daryl McKenna
●   Dominic Manelli
●   Alexander Walls
●   Johnny Mercil
●   Ryan O’Hara
●   Calvin Cook
●   Ryan Knoll

●   Joel Pucely                         Knowledge of police events occurring on May
●   Donavan Ford                        28, 2020
●   John Schliesing
•   Conan Hickey



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         Name and Address               Subject matter of the Information
•   Benjamin Johnson
•   Mark Doll
•   Samantha Belcourt
•   Paul Huynh
•   Jonathon Pobuda
•   Marcus Ottney
•   John Vinck
•   John Owen
•   Austin Seeley
•   Efrem Hamilton
•   John Stalboerger
•   Brandon Noble
•   George Peltz
•   Craig Williams
•   Souphaphone Daoheuang
•   Adam Lewis
•   Dominic Manelli
•   Aaron Pearson
•   Ryan O’Hara
•   Ryan Knoll
•   Benjamin Campbell
•   Alexandra Dubay
•   Logan Johannson
•   Darcy Klund
•   Matthew Kipke
•   Benjamin Bauer
•   Michael Meath
•   Mark Hanneman
•   Daniel Ungurian
•   Kyle Schroeder
•   Adam Hakanson
•   Oscar Macias
•   Ryan McCann
•   Dustin Schwarze
•   Thomas Campbell
•   Matthew Severance
●   Brandon Knuth
●   Justin Young
•   Rian Jensen




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       Name and Address                   Subject matter of the Information
• Joshua Rick
• Benjamin Johnson
• Gabriel Grout
• Andrew Allen
• Peter Bacon
• Timothy Hanks
• Benjamin Hain
• Zachary Seraphine
• Lonnie Hoffbeck
• Andrew Ruden
• Joshua Metcalf
• Cory Krautkramer
• Johnny Mercil
• John Biederman
• Michael Saas
• Thomas Schmid
• Michael Soucy
• Shawn Kelly
• Russell Lind
• Saul Garza
• Lucas Peterson
• Abdirahman Ali
● Shannon Barnette

•   Tyrone Barze                     Knowledge of police and law enforcement
•   Mark Doll                        events occurring on May 29, 2020
•   Mark Riggenberg
•   Xavier Rucker
•   Nathan Sundberg
•   Mark Hanneman
•   Benjamin Bauer
•   Rian Jensen
•   Michael Meath
•   Tyler Klund
•   Samantha Belcourt
•   Justin Stetson
•   Kristopher Dauble
•   Dustin Schwarze
•   Cory Taylor




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     CASE 0:20-cv-01338-JRT-JFD Doc. 109-1 Filed 12/13/21 Page 66 of 76




         Name and Address                 Subject matter of the Information
•   Chad Fuchs
•   Austin Seeley
•   Ryan McCann
•   Cory Krautkramer
•   Eric Duong
•   Christopher Cushenberry
•   Adam Hakanson
•   Zachary Seraphine
•   Andrew Bittell
•   Lucas Peterson
•   Andrew Braun
•   George Peltz
•   John Biederman
•   Brian Bennett
•   Daniel Ungurian
•   Andrew Allen
•   Shawn Kelly
•   Paul Huynh
•   Jonathon Pobuda
•   Marcus Ottney
•   Souphaphone Daoheuang
•   William Martin
•   Conan Hickey
•   Kevin Angerhofer
•   Brian Collins
•   Joseph Osuji
•   Nicholas Pielert
•   Oscar Macias
•   Johnny Mercil
•   Juan Valencia
•   Kyle Schroeder
•   Ryan O’Hara
•   Efrem Hamilton
•   Ryan Knoll
•   Andrew Stender
•   Benjamin Hain
•   Sawyer Moen
•   Aaron Pearson
•   Benjamin Campbell




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          Name and Address                Subject matter of the Information
•   Daryl McKenna
•   Christopher Bennett
•   Michael Glavan
•   Joshua Rick
•   Logan Johansson
•   John Vinck
•   Sarah James
•   Alexandra Dubay
•   Benjamin Johnson
•   Brandon Knuth
•   Brian Anderson
•   Chaz Wilson
•   Chris Smith
•   Christopher Pickhardt
•   Craig Crisp
•   Darcy Klund
•   Davis Muller
•   Donovan Ford
•   Gabriel Grout
•   Jerome Carey
•   Joel Pucely
•   John Owen
•   Jon Schliesing
•   Joshua Metcalf
•   Ryan Kelly
•   Matthew Cashin
•   Matthew Kaminski
•   Matthew Lindquist
•   Michael Nordin
•   Michael Osbeck, Jr.
•   Mike Nimlos
•   Scott Creighton
•   Steven Laux
•   Zakari Ketchmark

•   James Walker                     Knowledge of police events on May 30, 2020
•   Michael Chiappetta
•   Clifton Toles
•   Steve Wuorinen




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          Name and Address               Subject matter of the Information
•   Jeffrey Pennaz
•   Thomas Bernardson
•   Brianna Garman
•   Aimee Colegrove
•   Jamie Karshbaum
•   Jason Anderson
•   Luke Eckert
•   Justin Churchill
•   Robert Allickson
•   Jason Okerberg
•   Christopher Bishop
•   Chad Martin
•   Nicole Mackenzie
•   Matthew St. George
•   Samantha Belcourt
•   Ronald Stenerson
•   Michael Primozich
•   Karl Olson
•   Mark Riggenberg
•   Michael Osbeck, Jr.
•   Kristopher Dauble
•   Tyler Klund
•   Justin Stetson
•   Grant Johnson
•   Michael Fontaine
•   Mark Doll
•   Johnathon Pobuda
•   Christopher Cushenbery
•   Michael Pfaff
•   Cory Taylor
•   Michael Heyer
•   Cory Krautkramer
•   Jeffrey Webb
•   Grant Johnson
•   Charles White
•   Zachary Seraphine
•   Dustin Schwarze
•   Xavier Rucker
•   Andrew Bittell




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     CASE 0:20-cv-01338-JRT-JFD Doc. 109-1 Filed 12/13/21 Page 69 of 76




          Name and Address               Subject matter of the Information
•   Kyle Schroeder
•   Thomas Campbell
•   Ryan O’Hara
•   Juan Valencia
•   Mike Nimlos
•   Alexandra Dubay
•   Benjamin Johnson
•   Brandon Knuth
•   Matthew Kipke
•   Craig Crisp
•   Donovan Ford
•   Gabriel Grout
•   Joel Pucely
•   Jon Schliesing
•   Ryan Kelly
•   Matthew Kaminski
•   Michael Nordin
•   Michael Osbeck, Jr.
•   Scott Creighton
•   Steven Laux
•   Conan Hickey
•   Peter Bacon
•   Tyrone Barze
•   Rian Jensen
•   Lucas Peterson
•   Joshua Rick
•   Shawn Kelly
•   Daniel Ungurian
•   Logan Johansen
•   Brian Bennett
•   Nathan Sundberg
•   Austin Seely
•   Ryan McCann
•   Michael Glavan
•   Marcus Ottney
•   Andrew Braun
•   Michael Meath
•   Marc Hanneman
•   Adam Hakanson




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     CASE 0:20-cv-01338-JRT-JFD Doc. 109-1 Filed 12/13/21 Page 70 of 76




         Name and Address                 Subject matter of the Information
•   William Martin
•   Alexander Pearson
•   George Peltz
•   Andrew Allen
•   Andrew Stender

●   Benjamin Bauer                   Knowledge of police events on May 31, 2020
●   Zachary Seraphine
●   Rian Jensen
●   Mark Hanneman
●   William Martin
●   Mark Doll
●   Lucas Peterson
●   Eric Duong
•   Tyler Klund
•   Darcy Klund
•   Michael Soucy
•   Andrew Bittell
•   Daniel Ligneel
•   Carlos Escobar
•   Michael Osbeck, Jr.
•   Adam Moen
•   Michael Glavan
•   Efrem Hamilton
•   Gabriel Grout
•   Brandon Knuth
•   John Schliesing
•   Juan Valencia
•   John Sysaath
•   Samantha Belcourt
•   Cory Krautkramer
•   Ryan Kelly
•   Justin Stetson
•   Joshua Metcalf
●   John Biederman
●   Daniel Ungurian
●   Adam Hakanson
●   Matthew Kaminski
●   Michael Meath
●   Ryan McCann




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     CASE 0:20-cv-01338-JRT-JFD Doc. 109-1 Filed 12/13/21 Page 71 of 76




         Name and Address               Subject matter of the Information
●   Marcus Ottney
●   Jonathan Pobuda
●   Souphaphone Daoheuang
●   John Vinck
●   Danielle Phernetton
●   George Peltz
●   Andrew Braun
●   Samantha Belcourt
●   Adam Lewis
●   Kevin Angerhofer
●   Justin Young
●   Dominic Manelli
●   Ryan O’Hara
●   Ryan Knoll
●   Andrew Stender
●   Alexandra Dubay
●   Shawn Kelly
●   Efram Hamilton
●   Jacob Skowronek
●   Joshua Rick
●   Souphaphone Daoheuang
●   John Vinck
●   Danielle Phernetton
●   George Petlz
•   Heather Sterzinger
•   Sherry Appledorn
•   Steven Klimpke
•   Lucas Peterson
•   Mohamed Jama
•   Justin Riesdorfer
•   Daniel Ungurian
•   Alexander Walls
●   Chris Smith
●   Adam Lewis
●   Kevin Angerhofer
●   Justin Young
●   Dominic Manelli
●   Ryan O’Hara
●   Ryan Knoll




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         Name and Address                    Subject matter of the Information
Chief of Police Medaria Arradondo,    Knowledge of the Minneapolis Police
Deputy Chief Kathy Waite,             Department’s response to the May 26 to May
Deputy Chief Amelia Huffman, and      31, 2020, protests and riots in Minneapolis, the
Commander Scott Gerlicher             continuing and widespread property destruction
                                      and life-threatening conduct occurring during
                                      the riots, the MPD’s policies, practices, and
                                      customs relating to civil unrest, use of force and
                                      protection of First Amendment activities, and
                                      the presence of other law enforcement agencies
                                      near the Fifth Precinct on the evening of May
                                      29, 2020.

Sgts. Kevin Angerhofer and Tony       Training relating to use of less-lethal munitions.
Caspers

MPD training unit personnel           Training relating to use of force, civil unrest,
                                      and protection of First Amendment activities.

Fire Chief Bryan Tyner                Knowledge of the Minneapolis Fire
                                      Department’s response to fires, acts of arson,
                                      and assaults on firefighters from May 26 to
                                      May 31, 2020.

Minnesota Department of Public        Knowledge of the presence of state law
Safety Commissioner John              enforcement near the Fifth Precinct on May 29,
Harrington, Minnesota State Patrol    2020, and the less-lethal munitions used by
Colonel Matthew Langer, and           state law enforcement.
unknown members of the Minnesota
State Patrol.

Plaintiff Linda Tirado                Knowledge of the incident at-issue and riot,
                                      assault against officers, and acts of arson on
                                      May 29, 2020, near the Fifth Precinct.

Defendant Robert Kroll                Communications with the City of Minneapolis
                                      and Minneapolis Police Department, or lack
                                      thereof, between May 26 and May 31, 2020.

All individuals listed in the
Plaintiff’s and Defendant Robert
Kroll’s initial disclosures.




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B.    A copy of, or a description by category and location of, all documents, data
      compilations and tangible things in the possession, custody, or control of the City
      Defendants and that City Defendants may use to support their claims or defenses,
      unless solely for impeachment.

      Please note that certain documents listed below are designated Confidential
pursuant to the Protective Order in this case.

           Description of document(s)                      Bates number(s)
General Offense Reports, CAD Reports, and            MPLS_Tirado000001-
Incident Detail Reports related to protests, riots   MPLS_Tirado001537
and civil unrest from May 26, 2020, to May 31,
2020

Article from CrimethInc.com “The Siege of the        MPLS_Tirado001538-
Third Precinct in Minneapolis An Account and         MPLS_Tirado001567
Analysis”

Internal Emails regarding protest response           MPLS_Tirado001568-
                                                     MPLS_Triado001593;
                                                     MPLS_Tirado002370-
                                                     MPLS_Tirado002392

Press releases from MPD regarding protests           MPLS_Tirado001594-
                                                     MPLS_Tirado001596

Article from the Star Tribune regarding protests     MPLS_Tirado001597-
                                                     MPLS_Tirado001600

Minneapolis Police Department Policy &               MPLS_Tirado001601-
Procedure Manual effective 3-31-2020 (version        MPLS_Tirado002148
in effect in May 2020)

Special Orders modifying the Policy and              MPLS_Tirado002149-
Procedure Manual from 4-1-2020 to present            MPLS_Tirado002369

Minneapolis Police Department training               MPLS_Tirado002393-
materials regarding protests, the First              MPLS_Tirado006646
Amendment, crowd control, demonstrations,
mass arrests, use of chemical irritants, and use
of less-lethal munitions




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           Description of document(s)                 Bates number(s)
E-mail correspondence relating to use of 40mm   MPLS_Tirado006647-
projectiles                                     MPLS_Tirado006649

2020 Protest Munitions Used                     MPLS_Tirado006650

PowerPoint presentation, Chemical Munitions     MPLS_Tirado006651-
and Crowd Control Re-Cert                       MPLS_Tirado006730

Index and Body Worn Camera footage for:         MPLS_Tirado006731-
William Martin                                  MPLS_Tirado006809,
Andrew Stender                                  MPLS_Tirado006810
Donovan Ford
Nathan Sundberg
Kyle Schroeder
Xavier Rucker
Kristopher Dauble
Cory Taylor
Tyler Klund
Brian Bennett
Juan Valencia
Gabriel Grout
Craig Crisp
Logan Johnson
Samantha Belcourt
Efrem Hamilton
Ryan Kelly
Matthew Kipke
Justin Stetson
Christopher Cushenbery
Andrew Bittell
Brian Collins
Scott Creighton
Mike Nimlos
John Vinck
Benjamin Johnson
Benjamin Bauer
Ryan McCann
Mark Hanneman
Adam Hakanson
Daniel Ungurian
Michael Glavan
Michael Meath



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    CASE 0:20-cv-01338-JRT-JFD Doc. 109-1 Filed 12/13/21 Page 75 of 76




          Description of document(s)                   Bates number(s)
Andrew Allen
Jon Schliesing
Joshua Metcalf
Andrew Braun
Shawn Kelly
Gabriel Grout
Brandon Knuth
Joel Pucely
George Peltz
Matthew Kaminski
Tyrone Barze
John Owen III
Souphaphone Daoheauang
Marcus Ottney
Mark Doll
Aaron Pearson
Kyle Schroeder
Ryan O’Hara
Michael Nordin
Alexandra Dubay
Paul Huynh
Austin Seely
Steven Laux
Michael Osbeck, Jr.
Conan Hickey
Peter Bacon
Dustin Schwarze
Rian Jensen
Lucas Peterson
Joshua Rick
Ryan Kelly
Chris Smith
Zachary Seraphine
Michael Osbeck, Jr.
Chaz Wilson
John Biederman
Zakari Ketchmark
Matthew Cashin
Mark Doll
Darcy Klund
Brian Anderson
Davis Muller



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          Description of document(s)                         Bates number(s)
 Christopher Pickhardt
 Chris Smith
 Jerome Carey
 Mark Ringgenberg
 Matthew Lindquist

C.    A computation of all damages claimed by the City Defendants, including materials
      bearing on the nature and extent of injuries suffered.

      Not applicable.

D.    Any insurance agreement which may cover all or part of the judgment or to
      indemnify or reimburse payments made to satisfy the judgment.

      The City of Minneapolis is self-insured.

      City Defendants make these disclosures based on information reasonably available

to them at this time. City Defendants will supplement these disclosures as appropriate.

 Dated: April 20, 2021                       JAMES R. ROWADER, JR.
                                             City Attorney
                                             By s/Kristin R. Sarff
                                             KRISTIN R. SARFF (388003)
                                             SHARDA ENSLIN (389370)
                                             HEATHER ROBERTSON (390470)
                                             Assistant City Attorneys
                                             Minneapolis City Attorney’s Office
                                             350 South Fifth Street, Room 210
                                             Minneapolis, MN 55415
                                             (612) 673-3919
                                             (612) 673-2180
                                             (612) 673-3949
                                             kristin.sarff@minneapolismn.gov
                                             sharda.enslin@minneapolismn.gov
                                             heather.robertson@minneapolismn.gov

                                             Attorneys for Defendants City of
                                             Minneapolis and Minneapolis Chief of
                                             Police Medaria Arradondo, in his official
                                             capacity




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